                                                                                                                                                                                                       Page:        1
                                                       Case 6:17-bk-07523-KSJ                     Doc 64        Filed 12/05/18              Page 1 of 4
                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
Case No:              17-07523                         KSJ            Judge:        Karen S. Jennemann                           Trustee Name:                      Marie E. Henkel
Case Name:            Doodnath Ramdhanie                                                                                         Date Filed (f) or Converted (c):   05/18/2018 (c)
                      Soogie Doodnath                                                                                            341(a) Meeting Date:               06/26/2018
For Period Ending:    09/30/2018                                                                                                 Claims Bar Date:                   07/31/2018


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

  1. 2111 Carbine Court                                                                  193,000.00                 193,000.00                                                       0.00                        0.00
     Kissimmee Fl 34743-0000 Osceola
  2. 2009 Nissan Rogue Mileage: 95,000                                                     3,516.00                   3,516.00                                                       0.00                         FA
  3. Used Household Goods And Furnishings: Bed, Couch,                                       500.00                       0.00                                                       0.00                         FA
     Kitchen Table & Chairs
  4. Used Electronics: Television, Mobile Phone                                              100.00                       0.00                                                       0.00                         FA
  5. Used Treadmill                                                                           75.00                       0.00                                                       0.00                         FA
  6. Used Clothing And Shoes                                                                  50.00                       0.00                                                       0.00                         FA
  7. Misc. Costume Jewelry                                                                    10.00                       0.00                                                       0.00                         FA
  8. Cash                                                                                     15.00                       0.00                                                       0.00                         FA
  9. Chase Bank                                                                              300.00                       0.00                                                       0.00                         FA
 10. Mid-Florida Credit Union                                                                763.00                       0.00                                                       0.00                         FA
 11. Mid-Florida Credit Union (Regular Savings Account & Holiday                              50.95                       0.00                                                       0.00                         FA
     Club Account)
 12. Td Bank                                                                               2,400.00                       0.00                                                       0.00                         FA
 13. Td Bank                                                                                 940.41                       0.00                                                       0.00                         FA
 14. Genworth Financial                                                                   45,355.90                       0.00                                                       0.00                   45,355.90


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $247,076.26              $196,516.00                                                      $0.00                    $45,355.90
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:
                                                                                                                                                Page:   2

Trustee is marketing asset # 1 as short sale
                                                     Case 6:17-bk-07523-KSJ                     Doc 64        Filed 12/05/18      Page 2 of 4
05/18/18 Case converted from Ch 13 to Ch 7
07/10/18 Motion for relief re asset # 1
07/19/18 Application to employ special counsel
         Response to Motion for Relief
07/20/18 Order authorizing employment of special counsel
08/02/18 Application to employ realtors
08/03/18 Order authorizing employment of realtors
08/10/18 Claims review complete
08/27/18 Order granting secured creditor relief (effective 11/16/18)
09/13/18 Motion for Turnover of asset # 1
10/04/18 Debtor's Response to Motion for Turnover
         Notice of Hearing (11/01/18 @ 11 am)



RE PROP #              2    --   VIN JN8AS58T69W060891

Initial Projected Date of Final Report (TFR): 03/31/2019               Current Projected Date of Final Report (TFR): 03/31/2019

Trustee Signature:         /s/ Marie E. Henkel     Date: 10/31/2018
                           Marie E. Henkel
                           3560 S. Magnolia Ave.
                           Orlando, FL 32806
                           (407) 438-6738
                           mehenkel@yahoo.com
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                                                                                       FORM                                               3 of 4
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 17-07523                                                                                       Trustee Name: Marie E. Henkel
      Case Name: Doodnath Ramdhanie                                                                                  Bank Name: Union Bank
                   Soogie Doodnath                                                                          Account Number/CD#: XXXXXX0065
                                                                                                                                    Checking
  Taxpayer ID No: XX-XXX1166                                                                       Blanket Bond (per case limit): $23,516,752.00
For Period Ending: 09/30/2018                                                                      Separate Bond (if applicable):


       1                2                          3                                           4                                                    5                   6                     7

Transaction Date    Check or             Paid To / Received From                  Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                 Code                                                            ($)
                                No Transactions                                                                                                                                                    $0.00



                                                                                                      COLUMN TOTALS                                      $0.00                $0.00
                                                                                                            Less: Bank Transfers/CD's                    $0.00                $0.00
                                                                                                      Subtotal                                           $0.00                $0.00
                                                                                                            Less: Payments to Debtors                    $0.00                $0.00
                                                                                                      Net                                                $0.00                $0.00




                                                                             Page Subtotals:                                                             $0.00                $0.00
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                                                                                                 TOTAL OF ALL ACCOUNTS
                                                                                                                                                   NET             ACCOUNT
                                                                                                                NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                                   XXXXXX0065 - Checking                                                   $0.00                  $0.00                 $0.00
                                                                                                                           $0.00                  $0.00                 $0.00

                                                                                                               (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                       transfers)            to debtors)
                                                   Total Allocation Receipts:                        $0.00
                                                   Total Net Deposits:                               $0.00
                                                   Total Gross Receipts:                             $0.00



Trustee Signature:   /s/ Marie E. Henkel   Date: 10/31/2018

                     Marie E. Henkel
                     3560 S. Magnolia Ave.
                     Orlando, FL 32806
                     (407) 438-6738
                     mehenkel@yahoo.com




                                                                           Page Subtotals:                                            $0.00                $0.00
